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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
COMMERCIALIZADORA PORTIMEX, CIVIL ACTION
S.A. DE CV
NO: 02-1185
VERSUS

ZEN-NOH GRAIN CORPORATION SECTION: "R" (1)

ORDER AND REASONS

Defendant Zen-Noh Grain Corporation has moved to hold
plaintiff Commercializadora Portimex, S.A. de CV in contempt for
failing to comply with this Court’s judgment of June 7, 2005, in
which the Court preliminarily and permanently enjoined Portimex
from pursuing an action it filed against Zen-Noh in Mexico. Zen-
Noh requests that the Court hold Portimex in contempt because
Portimex has not dismissed the action and because Zen-Noh risks
being held in default by the Mexican court if it does not expend
Significant resources to prepare and file an answer.

A movant in a civil contempt proceeding bears the burden of
establishing by clear and convincing evidence that: 1) a court
order was in effect; 2) the order required certain conduct by the

respondent; and 3) the respondent failed to comply with the

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court’s order. American Airlines v. Allied Pilots Assn, 228
F.3d 574, 581 (2000). Portimex argues that the Court’s order
enjoined it from pursuing the Mexican litigation but did not
order it to take any affirmative steps to dismiss the litigation.
Because there is no evidence that Portimex has taken any action
to pursue the Mexican litigation in contravention of the Court's
order, Portimex is not in contempt.

Portimex has not, however, disputed Zen-Noh’s assertion that
Zen-Noh risks being held in default by the Mexican court unless
Zen-Noh expends significant resources to answer the complaint,
regardless of whether Portimex complies with the Court’s order
that it not pursue the action. The Court directed Portimex, in
its opposition to Zen-Noh’s motion, to address why the Court
should not amend the injunction to order Portimex to dismiss the
lawsuit it filed in Mexico. Portimex has given no reason why the
Court should not do so.

Accordingly, the Court hereby amends the judgment it
previously issued to order Portimex to dismiss with prejudice the
action it filed in the Sixth District Court for Civil Matters of
the Federal District of the United Mexican States, entitled
Comercializadora Portimex, S.A. de C.V. vs Zen-Noh Grain (Export)

Division of Zen-Noh Grain Corporation by Tuesday, June 28, 2005.

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New Orleans, Louisiana, this Z\9 day of June, 2005.

‘ SARAH S. VANCE
UNITED STATES DISTRICT JUDGE

